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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

      v.
                                                           CR NO. 21-CR-0071 (ABJ)
KARL DRESCH,


     Defendant.


           GOVERNMENT RESPONSE TO DEFENDANT’S MOTION FOR BOND

       Defendant Karl Dresch, a convicted felon who possessed multiple firearms and

ammunition at his residence, participated in the obstruction of a Congressional proceeding at the

United States Capitol on January 6, 2021. He was arrested on January 20, 2021, for crimes

associated with his participation in the riot at the U.S. Capitol. Dresch was ordered detained after

a hearing before a U.S. Magistrate Judge in the Western District of Michigan, based on danger to

the community and risk of flight. During his transport to the District of Columbia for appearance

on the complaint, he was indicted by a federal grand jury for crimes associated with his actions

on January 6, 2021, including obstruction of an official proceeding in violation of Title 18,

United States Code, Section 1512(c)(2). Defendant’s motion for bond should be denied; his prior

encounters with law enforcement and disrespect for the rule of law demonstrate that no set of

conditions would be sufficient to secure his appearance at a trial of this matter or ensure the

safety of others.
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                                        BACKGROUND

Defendant’s Participation in January 6, 2021 Riot at the U.S. Capitol


       The facts regarding the events of January 6, 2021 are well-known to this Court and are

summarized in the affidavit attached as Exhibit 1; thus, the government only addresses the facts

regarding defendant’s specific actions herein. As set forth in Exhibit 1, on January 7, 2021, the

Federal Bureau of Investigation received a tip that defendant was at the U.S. Capitol Building on

January 6, 2021, and had entered without permission or authorization. Exhibit 1, Statement of

Facts Supporting Criminal Complaint, ¶ 11. FBI investigation of publicly-available information

from Facebook revealed postings from an account with a user name of Karl Dresch regarding

activities at the U.S. Capitol. Id. ¶ 13-15. Information obtained from a search warrant of the

Facebook account showed that, by no later than December 16, 2020, defendant posted

information to his Facebook account which was focused on the January 6, 2021, certification,

and which equated the planned events for January 6, 2021, with the historical events on July 4,

1776. Id. ¶ 13. For example, on December 16, 2020, defendant posted, “Stop the Steal,” and on

December 20, 2020, defendant posted, “7-4-1776 = 1-6-2021.” Id.

       By January 3, 2021, defendant posted that he was preparing to go to “DC,” and was

“prepared for chemical attacks and what not.” Id. He also urged others to do so by way of his

Facebook account, writing, “NO EXCUSES! NO RETREAT! NO SURRENDER! TAKE THE

STREETS! TAKE BACK OUR COUNTRY! 1/6/2021=7/4/1776.” Id. Between January 3, 2021,

and January 6, 2021, other posts on defendant’s Facebook account reflect preparations to arrange

travel and then travel to Washington, D.C., for that purpose. Facebook records show that, at

about 3:13 p.m. on January 6, 2021, defendant posted a photograph taken outside the U.S.

Capitol with the comment “Who’s house? OUR HOUSE!” Id. ¶ 16.


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       Facebook records further show that, at about 3:14 p.m. on January 6, 2021, defendant

posted a photograph with the title, “We are in.” Id. ¶ 17. The FBI shared the post with a U.S.

Capitol Police Officer, who confirmed that it accurately depicts the inside of the U.S. Capitol

Building, specifically, the “Crypt,” a location under the rotunda in the center of the Capitol.

       Defendant also posted, or sent messages containing, videos of the scene inside and around

the U.S. Capitol during the conduct under investigation. For example, defendant posted the video

depicted (in still frame), in Figure 1. The FBI provided Figure 1 to a member of the U.S. Capitol

Police, who works in and is familiar with the U.S. Capitol Building, and who verified that the

photograph in Figure 1 is an accurate depiction of the U.S. Capitol Visitor’s Center, which is inside

the U.S. Capitol and which was closed to the public on January 6, 2021. Id. ¶ 19.

                                             Figure 1




       At 12:11 a.m. on January 7, 2021, shortly after midnight, defendant posted the video with


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the comment, “Okay all you conspiracy theorists [winking smiley face emoji] don’t worry I

loves yous all just setting the record straight.antifa did not take the capitol.that was Patriots, I

can’t guarantee there weren’t some shit birds in the crowd but what multi-million crowd can you

guarantee?.don’t give them the thunder, we the people took back our house, the news is all

bullshit.and now those traitors Know who’s really in charge. And I can’t say I saw any

violence from our people, despite all the poking of the capitol police, gassing randomly into the

women and children being peaceful, beating old men we kept chill[.]” Id. ¶ 20.

        While inside the Capitol, defendant also exchanged messages with other Facebook users.

For example, on January 6, 2021, another Facebook user posted, “Patriots are in the Capitol

building now.” Defendant responded at 2:44 p.m., writing “I am.” The other Facebook user

wrote, at 2:48 p.m., that “Word is police are getting ready to use tear gas.” Defendant responded,

“Been using it. Mask up.” Id. ¶¶ 21-23.

        Later on January 6, 2021, the defendant also corresponded with a second Facebook user,

and sent that user a self-portrait photograph depicting the defendant in front of the U.S. Capitol

with the message: “Just had a beer on our front porch.” Id. ¶ 24. At approximately 5:18 p.m.,

defendant further commented, “That's right outside the house of representative...we got in! Took

a lil gas ...wtf I love masks now!” Id. ¶ 25. Defendant also stated: “Had the cops booking it.” Id.

¶ 26. The defendant also responded to other people’s comments on Facebook. For example, at

about 4:46 p.m., in response to another post, the defendant wrote, “It was peaceful…still got a lil

gas tho…mask on for safety[.]” Id. ¶ 27. In response to another person who wrote about the

individuals breaking into the Senate and House chambers and breaking glass and shoving

officers, at around 6:09 p.m., the defendant wrote, “we broke no glass no shoving I seen[.]” Id.

        Later that evening, the defendant expressed his approval of the events of the day. At


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about 8:32 p.m., commenting on a picture of a crowd at the Washington Monument, the

defendant posted, “Total Victory!” Id. ¶ 28. At 8:44 p.m., the defendant posted, “I’m excited!”

Id. The next day, on January 7, 2021, at about 9:36 a.m., defendant commented on an

unidentified post that “Mike Pence gave our country to the communist hordes, traitor scum like

the rest of them, we have your back give the word and we will be back even stronger.” Id.

       Arrest and Detention Hearing

       Agents arrested defendant on January 19, 2021, on an arrest warrant issued from the

United States District Court for the District of Columbia in connection with a Criminal

Complaint charging the defendant with Obstruction of Justice, 18 U.S.C. § 1512(c)(2),

Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful

Authority, 18 U.S.C. §§ 1752(a), and Violent Entry and Disorderly Conduct on Capitol Grounds,

40 U.S.C. § 5104(e)(2).

       Agents searched defendant’s residence on January 19, 2021, in Calumet, Michigan,

pursuant to a federal search warrant. Among other items, agents located several hundred rounds

of rifle (7.62) ammunition, a Russian rifle, shotgun shells, a shotgun, and an Atlanta Braves

backpack. See Exhibit 2, Search Warrant Inventory. The ammunition was located in multiple

places throughout the house, including the dining room, the master bedroom, an upstairs hall

room, and inside the backpack. Exh. 2. Specifically, the backpack contained a Pilot gas station

receipt from Hagerstown, Maryland dated January 5, 2021, a Metro SmartTrip card, and 8 boxes

of 7.62 ammunition, containing a total of 160 rounds. See Exhibit 3, FBI 302 dated 1/29/21 of

Contents of Backpack, and Figures 2a-2c. The boxes matched the boxes of ammunition found in

the house. See Figure 2a and 3c. The firearms were identified in the Michigan State Police

Report as a Mossberg 12-gauge shotgun and a Russian-made SKS 7.62 mm x 39 caliber rifle.


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See Exhibit 3b, Michigan State Police Report dated January 19, 2021.

       Figure 2a-2b-2c: Contents of the Atlanta Braves Backpack




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Figure 3a-3b-3c: Shotgun, Rifle, and Ammunition in Residence




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       The following day, agents with the Bureau of Alcohol, Tobacco, and Firearms (ATF)

obtained and executed a federal search warrant at the residence and located additional firearms,

including a Glock pistol, pictured below, and a Remington rifle. See Exhibit 4, ATF

Memorandum of Investigation dated January 25, 2021; Figures 4a-4c. Multiple boxes of

ammunition were also retrieved. See Exh. 4, p. 2.

       Figures 4a-4b-4c: Glock, Ammunition, Rifle




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       Based on these facts, the government sought detention of defendant pending removal to

the District of Columbia. After a hearing on the matter on January 22, 2021, the U.S. Magistrate

Judge ordered defendant detained based on its finding that there was clear and convincing

evidence that no condition or combination of conditions of release would reasonably assure the

safety of any other person and the community, and that there was a preponderance of evidence

that no condition or combination of conditions of release would reasonably assure the

defendant’s appearance as required. See Exhibit 5, Order of Detention Pending Trial. The

detention order noted that the court’s findings were based, in part, on the fact that the weight of

the evidence against the defendant is strong, the defendant’s prior criminal history, the

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defendant’s history of violence or use of weapons, and the defendant’s prior attempt(s) to evade

law enforcement. Id.

       On February 3, 2021, defendant was indicted by a federal grand jury for obstruction of

justice, in violation of 18 U.S.C. § 1512(c)(2) and § 2, and four misdemeanors, including

knowingly entering or remaining in any restricted building or grounds without lawful authority,

and violent entry and disorderly conduct on Capitol grounds. Defendant was arraigned on March

12, 2021. The defendant filed a motion for bond with this Court on April 1, 2021.

                                         ARGUMENT

       The government may seek pretrial detention if the case involves a serious risk of flight,

obstruction of justice, or witness intimidation. 18 U.S.C. § 3142(f)(2). The Court may hold a

hearing to determine whether there are any conditions or combination of conditions that will

reasonably assure the appearance of the defendant as required and the safety of any person in the

community. Id. at § 3142(f)(1). As a preliminary matter, the rules concerning the admissibility of

evidence do not apply to the presentation of information at the detention hearing, and hearsay

evidence is permitted. 18 U.S.C. § 3142(f); United States v. Smith, 79 F.3d 1208, 1210 (D.C. Cir.

1996) (holding that the Bail Reform Act allows the government to proceed by proffer). The

government must prove by clear and convincing evidence that a defendant is a danger to the

community for detention to be ordered. 18 U.S.C. § 3142(f)(2)(B); United States v. Peralta, 849

F.2d 625, 626 (D.C. Cir. 1988). A finding that the defendant poses a risk of flight must be

supported by a preponderance of the evidence. United States v. Simpkins, 826 F.2d 94, 96 (D.C.

Cir. 1987).

       There are four factors under Section 3142(g) that the Court shall consider in determining

whether to detain the defendant pending trial: (1) the nature and circumstances of the offense


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charged; (2) the weight of the evidence against the defendant; (3) his history and characteristics;

and (4) the nature and seriousness of the danger to any person or the community that would be

posed by his release. See 18 U.S.C. § 3142(g). Based on these factors, there no conditions or

combination of conditions that would assure the safety of the community or the appearance of

the defendant at trial. See 18 U.S.C. § 3142(e)(1).

        Defendant has shown a flagrant disregard for the law in his past interactions with law

enforcement, and in his conduct and communications in relation to the instant offense. He poses

a danger to the community and should be detained pending a trial of this matter. In addition,

given his disregard for the law, there are no set of conditions that would guarantee his presence

at a trial of this matter.

        (1) Nature and Circumstances of the Offense

        The grand jury charged defendant with serious offenses. He mocked on social media the

fact that the rioters were being met with gas, and that the police force was overwhelmed. See

Exh. 1 at ¶¶ 25-26. These were not the actions of a “peaceful protestor,” or of someone who

became caught up in day’s events: he knew why he was there -- to interfere with the democratic

process -- and what he sought to achieve -- the disruption of the counting of electoral votes. This

intent is manifested in his own words before and after January 6. See Exh. 1, ¶¶13-29. This

factor weighs in favor of detention.

        (2) Weight of the Evidence

        The evidence that defendant committed the incursion into the Capitol for purposes of

obstructing the vote is strong. Defendant’s contemporaneous photos and social media postings

bear witness to his presence and intent on illegally entering the U.S. Capitol on January 6. His

intent in participating in the riot to obstruct lawful democratic processes is also demonstrated by



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his social media postings before and after the riot. Specifically, on November 23, 2020,

defendant posted: “Its war everywhere if we let this election get stolen.” See Exhibit 6, Dresch

Facebook Posting dated Nov. 23, 2020. On January 3, 2021, he posted that he was “prepared for

chemical attacks and what not.” See Exhibit 7, Dresch Facebook Message dated Jan. 3, 2021. On

January 5, 2021, he stated “[s]top the steal. this is the last stand of the United States to remain

free.” See Exhibit 8, Dresch Facebook Message dated Jan. 5, 2021. On January 6, 2021, he

boasted about his illegal entry into the Capitol and that he “took a l’il gas,” and said that cops

were “booking it.” See Exhibits 9a and 9b, Dresch Facebook Messages dated Jan. 6, 2021. On

January 7, 2021, he posted that “give the word and we will be back even stronger.” Exhibit 10,

Dresch Facebook Posting dated Jan. 7, 2021. These comments are in addition to the multiple

self-pictures (i.e., “selfies”) within the U.S. Capitol and on the grounds of the U.S. Capitol that

defendant took on January 6, 2021, as well as the photos from outside of the rioters. The weight

of the evidence with regard to his illegal presence within the U.S. Capitol on January 6, 2021 is

strong, as is his intent in being there.

        (3) History and Characteristics

        Defendant is a convicted felon who has shown complete disregard for the law. As noted

in the pre-trial services report, filed as an exhibit under seal, defendant was convicted in 2013 of

fleeing and eluding arrest after engaging in a high-speed car chase across interstate lines. Exhibit

11, WDMI Pretrial Services Report (filed under seal). He was convicted in Michigan on

December 11, 2017, of police officer – fleeing fourth degree, and operating – impaired, for

which he received a year in jail and a fine. He was convicted in Wisconsin on April 22, 2014, of

vehicle operator flee/elude officers and first degree recklessly endangering safety, for which he

received 11 months of jail time and two years’ probation. Id., p. 4-5. As noted in the police



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reports for those incidents, attached to the certified copy of his Wisconsin conviction as Exhibit

12, a Wisconsin deputy observed a vehicle traveling above the speed limit when he began to

pursue the vehicle, which in turn accelerated. The deputy continued pursuit, as the accelerating

vehicle swerved around vehicles and traveled at rates over 140 miles per hour. The deputy

radioed for assistance, and other deputies joined in pursuit, with marked cars and flashing lights

and sirens. The vehicle entered Michigan and stopped with smoke coming from its tires. At that

time, deputies ordered the driver, identified as defendant, to exit the vehicle; officers observed

empty beer cans and detected the smell of alcohol. See Exhibit 12, Certified Copy of Conviction

and Attached Police Reports.

        In addition to his conviction for fleeing and eluding, defendant also was convicted of:

disturbing the peace (Michigan, 9/12/2008, fine); permitting another to violate the motor vehicle

code (Michigan, 2/4/2010, fine); and obstructing officer (Wisconsin, 11/11/2011, fine), as set

forth in the pre-trial services report filed under seal. Exh. 11, p. 4-5.

        Notwithstanding his status as a convicted felon, a search of defendant’s residence

pursuant to search warrants on January 19, 2021, and January 20, 2021, revealed multiple

firearms and boxes of ammunition. Agents retrieved a Russian SKS assault-style rifle, 2

shotguns, a Glock pistol, and over 100 rounds of ammunition. See Figures 3-4. The ammunition

found in the residence matched the ammunition found in the Atlanta Braves backpack, as shown

above. The ammunition was found in a backpack containing a gas station receipt from a

Maryland gas station on January 5, 2021, and with a Metro SmartTrip card. See Figure 2.

        As part of the government’s investigation in this matter, the government obtained a

search warrant for defendant’s phone. The government has obtained some of the defendant’s

communications from his mobile device. A few of these communications are noted below,



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further demonstrating defendant’s rejection of the seriousness of his actions, the likelihood that

he would not respect any of the conditions imposed to ensure his appearance at trial, and the

danger that he could pose to the community if released.

       For example, on January 11, 2021, following the events of January 6, 2021, defendant

engaged in the following exchange with another individual, identified as “Kenny,” on Facebook

Messenger. From the context, they appear to be referring to an individual, who the government

refers to below as “Sharon S.,” who had posted information about individuals she knew from the

area who attended the riot.


            o   Dresch to Kenny, 11 January 2021 12:27:09 AM (UTC +0)
                    “Haha you think I trust these airwaves...fuckheads up there are mass
                      snitching me to feds”
                    “Look up Sharon [S.]” [12:27:36 AM (UTC +0)]
            o   Dresch to Kenny, 11 January 2021 12:40:39 (UTC +0)
                    “Fuck her what they got ..call the cops bitch lol...I ain't saying shit”
                    “Alright bro just wanted to holler let everyone know...stand by and watch
                      your block” [12:46:32 AM (UTC +0)]
            o   Kenny to Dresch, 11 January 2021 12:47:03 AM (UTC +0)
                    “Hear that I got a few dems on mine”
            o   Kenny to Dresch, 12 January 2021 12:56:16 AM (UTC +0)
                    “Just waiting for shit to go down”
            o   Dresch to Kenny, 12 January 2021 12:57:13 AM (UTC +0)
                    “Yeah but when it's everywhere makes it so much harder to stop us”

See Exhibit 13, Selected Excerpts from Facebook Messenger Exchange with “Kenny” (emphasis

added).

       Defendant exchanged additional comments on Facebook Messenger with another

individual, “Fischer,” about “Sharon S.’s” postings on Facebook. In part, he made the following

comments:

       Dresch to Fischer, 12 January 2021, 1:05:18 AM (UTC +0)


                      “Ya I looked at her shit and the ones commenting on it are the same”

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                        “They're the ones always mess with my Facebook ads” [1:05:46 (UTC
                         +0)]
                        “Now they wanna snitch me out lol.. bunch of losers” [1:06:34 AM (UTC
                         +0)]
                        “I sent her thing to tons of Patriots now it's gone haha, I'm sure I made a
                         FBI folder but fuck it I know who my enemies are” [1:08:11 AM (UTC
                         +0)]

See Exhibit 14, Selected Excerpts from Facebook Messenger Exchange with “Fischer.” On or

about January 7, 2021, defendant engaged in the following text message exchange with another

individual:


       Dresch to “Mutti,” 7 January 2021 4:34:50 AM (UTC +0)

              o “Bro you shoulda been there....the news is all fake...and just to correct shit..we
                wasn't violent but we took the capitol....antifa didn't do it they may have had some
                idiots undercover in the crowd but it was us tat got in...and we didn't fuck shit
                up...I seen a broken window...we picked up water bottle s and shit cleaned up..it
                was grand ...best day ever...I think it was a good show of force...look what we
                can do peacefully, wait til we decide to get pissed”
              o “And look if they can't hold the capitol with thousands of cops, how can they
                tell us what to do 1000 miles away” [4:37:21 AM (UTC +0)]

See Exhibit 15, Selected Excerpts from Chat Exchange (emphasis added).

       This factor weighs heavily in favor of detention. Defendant, a convicted felon, who

threatened the lives of innocent bystanders and police officers when he engaged in a high-speed

car chase across interstate lines, lived in a residence with multiple firearms and ammunition,

when he engaged in the unlawful conduct at the U.S. Capitol. The above discussions, after

defendant’s actions on January 6, continue to demonstrate defendant’s disregard for the law, and

hostility towards those who respect the democratic process; in his own words, he would be a

danger to the community if released. Moreover, such conduct demonstrates that there would not

be a set of conditions that could be imposed to ensure his presence at a trial of this matter.

       (4) Danger to the Community



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       Defendant, a convicted felon who had flagrantly and dangerously disregarded the law on

at least one prior occasion by engaging in a high-speed interstate car chase, knowingly and

willfully entered the U.S. Capitol and engaged in a riot to disrupt the lawful democratic electoral

process and obstruct justice. The multiple letters in support of defendant, outlining his

willingness to help family and friends, do not detract from his actions and convictions which

demonstrate an unwillingness to comport with laws whose goals are to protect society, nor do

they contradict the fact that he has a solid history of controverting law enforcement and refusing

to abide by the rule of law. They also cannot negate the impact of defendant’s own words.

       The facts of this case can be distinguished from the Court of Appeals’ decision in United

States v. Munchel, __ F.3d __, 2021 WL 1149196 (D.C. Cir. Mar. 26, 2021). In that case, the

defendants did not have a criminal history, let alone criminal infractions demonstrating

contemptuous actions towards law enforcement such as are present here. In this case, it was not

just the “presence of the group,” 2021 WL 1149196, *8, that prompted defendant to engage in

these activities; rather, it was defendant’s intent, as demonstrated through his own words and

actions prior to and after January 6, that led to his illegal behavior. The Munchel opinion thus

does not pertain to a case such as the one the Court is presented with here: that of a convicted

felon, with access to multiple firearms and ammunition, who has previously, and in this specific

instance, shown that he does not believe the law pertains to him.

       With respect to the conduct surrounding the charges in this matter, defendant faced, with

apparent glee, resistance from a police force, about which he boasted to others that he took “a

little gas,” and to which he paid no regard. He also stated that they would “be back.” Exh. 10.

Defendant made threatening statements after January 6, 2021, to include a comment further

underscoring his disrespect for the law, and his unwillingness to abide by the law: “look if they



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can’t hold the capitol with thousands of cops, how can they tell us what to do 1000 miles away.”

See Exhibit 15. Defendant even offered to return following his incursion into the Capitol; which

is not an insignificant statement in light of his illegal possession of firearms in his residence, and

his lengthy background demonstrating an unwillingness to abide by the rule of law and respect

for authority.

                                          CONCLUSION

       There is no set of conditions that would guarantee the defendant’s presence at a trial of the

matter, nor ensure the safety of the community. The defendant’s motion must be denied.

                                               Respectfully submitted,

                                               CHANNING D. PHILLIPS
                                               ACTING UNITED STATES ATTORNEY
                                               D.C. Bar No. 415793

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                                CERTIFICATE OF SERVICE

      On this 12th day of April, a copy of the foregoing was served on counsel of record for the
defendant via the Court’s Electronic Filing System.

                                                      /s/ Jennifer Blackwell
                                            Jennifer Leigh Blackwell
                                            Assistant United States Attorney




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